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14                                UNITED STATES DISTRICT COURT

15                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17    AMERICAN FEDERATION OF                            Case No. 3:25-cv-01780-WHA
18    GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE                      NOTICE OF ERRATA AND CORRECTED
19    COUNTY AND MUNICIPAL EMPLOYEES,                   REVISED PROPOSED SECOND
      AFL-CIO, et al.,                                  AMENDED COMPLAINT
20
               Plaintiffs,
21
          v.
22

23    UNITED STATES OFFICE OF PERSONNEL
      MANAGEMENT, et al.,
24
               Defendants.
25

26
27

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 2   PLEASE TAKE NOTICE that Plaintiffs hereby submit this notice of errata, correcting the format of

 3   the proposed Revised Second Amended Complaint, which was attached as Exhibit B to Reply In

 4   Support of the Motion for Leave to File Second Amended Complaint, filed March 7, 2025 (Dkt. 69-

 5   2). The Revised Second Amended Complaint refers to several exhibits, which were not attached.

 6   The Revised Second Amended Complaint, including exhibits, is attached hereto as Exhibit A.

 7   DATED: March 10, 2025

 8                                              Respectfully submitted,

 9                                              Scott A. Kronland
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